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                                                    1                            UNITED STATES DISTRICT COURT
                                                    2                                DISTRICT OF ARIZONA

                                                    3
                                                        Grand Canyon University,                         No. 2:21-cv-00177-SRB
                                                    4
                                                                             Plaintiff,                  [Proposed] Order Granting Plaintiff’s
                                                    5                                                    Motion to Supplement the Record and
                                                        v.                                               Take Judicial Notice
                                                    6
                                                        Miguel Cardona, et al,
                                                    7
                                                    8                       Defendants.
                                                    9
                                                   10
                                                                                               [Proposed] Order
                                                   11
Gallagher & Kennedy, P.A.




                                                              Having considered Plaintiff Grand Canyon University’s Motion to Supplement the
                     Phoenix, Arizona 85016-9225
                      2575 East Camelback Road




                                                   12
                                                        Record and Take Judicial Notices, and for good cause shown therein, IT IS HEREBY
                           (602) 530-8000




                                                   13
                                                        ORDERED that the Motion is GRANTED.
                                                   14
                                                              It is ORDERED that:
                                                   15
                                                              1.     The administrative record shall be supplemented with the Declaration of
                                                   16
                                                        Jason Eberhardt, attached as Exhibit A to Plaintiff’s Motion.
                                                   17
                                                              2.     The administrative record shall be supplemented with the April 5, 2022 report
                                                   18
                                                        from the Government Accountability Office, attached as Exhibit B to Plaintiff’s Motion.
                                                   19
                                                              3.     The Court shall take judicial notice of the April 5, 2022 report from the
                                                   20
                                                        Government Accountability Office, attached as Exhibit B to Plaintiff’s Motion.
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                                                   22
                                                              IT IS SO ORDERED on this ________ day of May, 2022.
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